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17
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18   Counsel for Plaintiffs and the putative class
     [Additional Counsel on Signature Page]
19
20                                  UNITED STATES DISTRICT COURT
21                               NORTHERN DISTRICT OF CALIFORNIA
22                                       SAN FRANCISCO DIVISION
23
24   IN RE PACIFIC FERTILITY CENTER                  Case No. 3:18-cv-01586-JSC
     LITIGATION
25                                                   JOINT STIPULATION AND [PROPOSED]
                                                     ORDER FOR APPOINTMENT OF
26
                                                     COUNSEL
27
28



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 1         WHEREAS, this litigation arises from a March 4, 2018 incident in which liquid nitrogen levels
 2   in one of Defendants’ tanks are alleged to have declined, resulting in alleged damage to: (1) human
 3   tissue including eggs and embryos; and (2) those whose cryogenically stored eggs and embryos were
 4   involved in the incident;
 5         WHEREAS, on April 30, 2018, the Court entered an Order consolidating three related proposed
 6   class actions currently pending in the Northern District of California, and setting a schedule for: (1)
 7   plaintiffs to file a consolidated complaint; (2) Defendants to answer, move, or otherwise respond to the
 8   consolidated complaint; and (3) briefing any motions to dismiss filed by Defendants (ECF 17);
 9         WHEREAS, pursuant to the Court’s Order, Plaintiffs must file their consolidated complaint on
10   or before May 30, 2018 (ECF 17);
11         WHEREAS, the parties wish to streamline early case management, narrow the issues in dispute,
12   and avoid uncertainty or confusion regarding Plaintiffs’ counsel’s authorization to act on behalf of the
13   proposed class;
14         WHEREAS, counsel for Plaintiffs have met and conferred and have agreed to work together on
15   behalf of Plaintiffs and the proposed class;
16         WHEREAS, Fed. R. Civ. P. 23(g)(3) states that the “court may designate interim counsel to act
17   on behalf of a putative class before determining whether to certify the action as a class action”;
18         WHEREAS, Plaintiffs in the consolidated action agree that the appointment of their counsel,
19   Girard Gibbs LLP; Peiffer Wolf Carr & Kane, A Professional Law Corporation; and Lieff Cabraser
20   Heimann & Bernstein, LLP, as interim class counsel, consisting of a three-member executive
21   committee, with one member of the committee serving as liaison counsel will be beneficial to the
22   effective prosecution of Plaintiffs’ claims because it will formally empower them to act on behalf of the
23   proposed class;
24         WHEREAS, as reflected in the declarations and firm resumes submitted herewith, proposed
25   interim counsel are well-qualified to represent the interests of the proposed class, see Declarations of
26   Daniel C. Girard, Adam B. Wolf and Sarah R. London;
27         WHEREAS, as reflected in the declarations submitted herewith, proposed interim class counsel
28   have undertaken significant effort on behalf of proposed class members, including through a factual and

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 1   technical investigation into the March 4, 2018 incident; consultation with experts; meetings with
 2   numerous families whose eggs and/or embryos were stored in the tank at issue; review of client
 3   documents; and coordination with defense counsel regarding consolidation of the three related actions
 4   and setting a schedule;
 5         WHEREAS, in order to avoid duplication of effort and ensure the efficient prosecution of
 6   Plaintiffs’ claims, Plaintiffs will submit a proposed protocol for work and expenses in advance of the
 7   initial case management conference addressing, among other issues, the exercise of billing judgment;
 8   the maintenance of contemporaneous, detailed time records; the periodic reporting of fees, expenses,
 9   and/or costs; and staffing;
10         WHEREAS, Defendants take no position on designation of the proposed interim class counsel to
11   act on behalf of the proposed class; and
12         WHEREAS, the parties through their attorneys agree that by entering into this stipulation
13   Defendants are not waiving any right they may have to challenge and/or object to class certification,
14   federal jurisdiction and/or any objection or challenge to the class action to which they would be entitled
15   by law, nor are Defendants waiving any objections or defenses they may have as to any issues, either
16   procedural or substantive, arising out of the consolidated action.
17         NOW THEREFORE, the parties through their respective counsel and subject to the Court’s
18   approval hereby stipulate and agree that:
19          1.     Pursuant to Fed. R. Civ. P. 23(g)(3), the Court appoints Girard Gibbs LLP; Peiffer Wolf
20   Carr & Kane, A Professional Law Corporation; and Lieff Cabraser Heimann & Bernstein, LLP as
21   interim class counsel and designates: (1) Girard Gibbs LLP; Peiffer Wolf Carr & Kane, A Professional
22   Law Corporation; and Lieff Cabraser Heimann & Bernstein, LLP as Plaintiffs’ executive committee;
23   and (2) Girard Gibbs LLP as Plaintiffs’ liaison counsel.
24          2.     Pursuant to this structure, and consistent with the Manual for Complex Litigation, Fourth,
25   §§ 10.221 and 40.22, Plaintiff’s executive committee and liaison counsel shall have the authority to
26   perform or delegate the following tasks on behalf of all Plaintiffs in the consolidated action:
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 1                                Plaintiffs’ Executive Committee
 2          directing, coordinating, and supervising the prosecution of Plaintiffs’ claims in the
 3           consolidated action;
 4          initiating, responding to, scheduling, briefing, and arguing all motions;
 5          appearing at all hearings and conferences regarding the case;
 6          determining the scope, order, and conduct of all discovery proceedings;
 7          assigning work to Plaintiffs’ counsel in the consolidated action, as necessary and
 8           appropriate;
 9          retaining experts;
10          conducting settlement negotiations on behalf of named Plaintiffs and the class;
11          entering into stipulations with opposing counsel as necessary for the conduct of the
12           litigation;
13          preparing and distributing status reports to any other law firms that might seek to
14           represent the proposed class;
15          collecting and reviewing time and expense records from all Plaintiffs’ counsel on a
16           monthly basis, or as provided for under any Court-approved protocol;
17          coordinating activities to avoid duplication and inefficiency in the filing, serving, and/or
18           implementation of pleadings, other court papers, discovery papers, and discovery
19           practice, and generally in the litigation;
20          coordinating discovery and briefing of common legal issues between the state court and
21           the federal actions; and
22          performing such other duties that may be incidental to proper coordination of Plaintiffs’
23           pretrial activities or authorized by further order of the Court.
24                                  Plaintiffs’ Liaison Counsel
25          receiving and distributing to Plaintiffs’ counsel, as appropriate, Orders, notices, and
26           correspondence from the Court, to the extent such documents are not electronically
27           filed;
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 1                receiving and distributing to Plaintiffs’ counsel, as appropriate, discovery pleadings and
 2                 correspondence and other documents from Defendants’ counsel that are not
 3                 electronically filed;
 4                convening meetings of counsel, and otherwise assisting in the coordination of case
 5                 management activities;
 6                communicating with defense counsel, on behalf of Plaintiffs’ executive committee,
 7                 concerning scheduling and other administrative matters; and
 8                communicating with the Court, on behalf of Plaintiffs’ executive committee, concerning
 9                 scheduling and other administrative matters.
10        IT IS SO STIPULATED.
11
12   Dated: May 10, 2018                                Respectfully submitted,
13                                                      By: /s/ Adam E. Polk
                                                        Daniel C. Girard (State Bar No. 114826)
14
                                                        Adam E. Polk (State Bar No. 273000)
15                                                      Steven M. Tindall (State Bar No. 187862)
                                                        Amy M. Zeman (State Bar No. 273100)
16                                                      GIRARD GIBBS LLP
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22                                                      Joseph G. Sauder (pro hac vice forthcoming)
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                                                        mds@sstriallawyers.com
27
                                                        Counsel for Plaintiff R.E.
28

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         JOINT STIPULATION AND [PROPOSED] ORDER FOR APPOINTMENT OF COUNSEL
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 1   Dated: May 10, 2018                      By: /s/ Adam B. Wolf
                                              Adam B. Wolf (State Bar No. 215914)
 2
                                              Tracey B. Cowan (Cal. Bar No. 250053)
 3                                            PEIFFER WOLF CARR & KANE, A
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 6                                            Facsimile: (415) 402-0058
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 7                                            tcowan@prwlegal.com
 8                                            Counsel for Plaintiffs Megan and Jonathan Bauer
 9
     Dated: May 10, 2018                      By: /s/ Sarah R. London
10                                            Elizabeth J. Cabraser (State Bar No. 083151)
                                              Lexi J. Hazam (State Bar No. 224457)
11                                            Sarah R. London (State Bar No. 267083)
12                                            Tiseme G. Zegeye (State Bar No. 319927)
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                                              slondon@lchb.com
18                                            tzegeye@lchb.com

19                                            Counsel for Plaintiffs A.B., C.D., and E.F.

20   Dated: May 10, 2018                      By:     /s/ Joseph S. Picchi
                                              Joseph S. Picchi (State Bar No. 157102)
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26
                                              Counsel for Defendant Pacific Fertility Center
27
28

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          JOINT STIPULATION AND [PROPOSED] ORDER FOR APPOINTMENT OF COUNSEL
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 1   Dated: May 10, 2018                                   By:     /s/ Erin M. Bosman
                                                           Erin M. Bosman (State Bar No. 204987)
 2
                                                           MORRISON & FOERSTER LLP
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                                                           San Francisco, California 94105
 4                                                         Tel: (415) 268-7000
                                                           EBosman@mofo.com
 5
 6                                                         Counsel for Defendant Prelude Fertility, Inc.

 7
 8                                                ATTESTATION

 9          I, Adam E. Polk, am the ECF User whose identification and password are being used to file this

10   Joint stipulation and pursuant to Civil L.R. 5-1(i)(3) I attest under penalty of perjury that concurrence in
11   this filing has been by all counsel.
12
13    Dated: May 10, 2018                                                      /s/ Adam E. Polk
14                                                                               Adam E. Polk

15
16                                            [PROPOSED] ORDER
17          PURSUANT TO STIPULATION, IT IS SO ORDERED.
18
19
20    Dated: ________________
21                                                        HONORABLE JACQUELINE SCOTT CORLEY
                                                            UNITED STATES MAGISTRATE JUDGE
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          JOINT STIPULATION AND [PROPOSED] ORDER FOR APPOINTMENT OF COUNSEL
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 1                                       CERTIFICATE OF SERVICE
 2          I hereby certify that on May 10, 2018, I electronically filed the foregoing document using the
 3   CM/ECF system, which will send notification of such filing to all counsel of record registered in the
 4   CM/ECF system.
 5
 6
                                                        /s/ Adam E. Polk
 7                                                        Adam E. Polk
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